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                                   IN THE UNITED STATES DISTRICT COURT
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                                      EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                           ) CASE NO. 2:12-CR-0180 MCE
12                                                       )
                                     Plaintiff,          )
13                                                       )
                              v.                         )
14                                                       )
     GURDEV JOHL,                                        )
15                                                       )
                                                         )
16                                   Defendants.         )
                                                         )
17                                                       )
                                                         )
18                                                       )
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             The United States has submitted a request to seal its motion pursuant to U.S.S.G. 5k1.1 as to
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     defendant Gurdev Johl. No opposition has been filed. The Court has considered the factors set forth in
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     Oregonian Publishing Co. v. U.S. District Court for the District of Oregon, 920 F.2d 1462 (9th Cir.
22
     1990). The Court finds that, for the reasons stated in the government’s request, sealing the
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     government’s motion pursuant to U.S.S.G 5k1.1 serves a compelling interest. The Court further finds
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     that, in the absence of closure, the compelling interests identified by the government would be harmed.
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     In light of the public filing of its request to seal, the Court further finds that there are no additional
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     alternatives to sealing the government’s motion pursuant to U.S.S.G 5k1.1 that would adequately protect
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     the compelling interests identified by the government.
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             Case 2:12-cr-00180-TLN Document 323 Filed 01/11/16 Page 2 of 2


 1         Accordingly, the Court GRANTS the government’s request to seal its motion pursuant to

 2 U.S.S.G. 5k1.1 as to Gurdev Johl.

 3         IT IS SO ORDERED.

 4     DATED: January 11, 2016
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                            Thursday, Apr 17, 2014 09:38 AM
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